                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN


KENALL MANUFACTURING CO. and
UNIVERSITY OF STRATHCLYDE

                 Plaintiffs,
        v.                                                           Case No. 2:18-cv-01352-DEJ

OLDENBURG GROUP INCORPORATED
d/b/a VISA LIGHTING

                 Defendant.


                                  NOTICE OF APPEARANCE


        Please take notice that the following attorney hereby appears as counsel for the

defendant, Oldenburg Group Incorporated, d/b/a Visa Lighting, and respectfully requests that he

be provided with copies of all further correspondence, notices, pleadings and other filings in this

case.

                                James F. Boyle
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                                WI Bar No. 1019165

                                                     Respectfully submitted,

Date: October 24, 2018                               By: s/James F. Boyle
                                                         James F. Boyle
                                                         Attorney for Defendant
                                                         Oldenburg Group Incorporated
                                                         d/b/a Visa Lighting
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